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    UNITED STATES BANKRUPTCY COURT
    SOUTHERN DISTRICT OF NEW YORK

In re:                                                             Chapter 11
                                                                   Case No. 20-11618 (SCC)
LLADRO GALLERIES, INC.
                                                                  (Subchapter V)
Debtor.


        ORDER AUTHORIZING AND APPROVING THE SALE AND TRANSFER OF
         CERTAIN ASSETS FREE AND CLEAR OF ALL ENCUMBRANCES AND
                         GRANTING RELATED RELIEF


            Upon consideration of the motion [Docket No. 33] (the “Sale Motion”) of Lladro

    Galleries, Inc. (“Lladro” or the “Debtor”), 1 as debtor and debtor in possession in the

    above-captioned chapter 11 case, for entry of an order under sections 105(a) and 363 of

    Title 11 of the United States Code, 11 U.S.C. §§ 101, et. seq. (the “Bankruptcy Code”),


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     All capitalized terms not otherwise defined herein shall have the meanings ascribed to them in the Sale
    Motion or the Asset Purchase Agreement, by and between Debtor and Purchaser, solely with respect to
    certain provisions (the “Agreement”).
Rules 2002, 6004, and 9014 of the Federal Rules of Bankruptcy Procedure (the

“Bankruptcy Rules”), and Rule 6004-1 of the Local Bankruptcy Rules for Southern

District of New York (the “Local Rules”) (i) approving and authorizing the acquisition of

certain assets of the Debtor as defined in the Agreement (the “Assets”) by Hilco Wholesale

Solutions, LLC (the “Purchaser”); and the Sale Hearing having been held telephonically

on January 13, 2021, during which the Court considered the Debtor’s request for the entry

of an order approving the Sale (the “Sale Order”); all interested parties having been

afforded an opportunity to be heard with respect to the Sale Motion, and the Sale Motion

having been properly served on all parties in interest including the Debtor’s entire creditor

mailing matrix; and this Court having reviewed and considered (i) the Sale Motion; (ii) any

objections thereto; (iii) the arguments made by counsel; and (iv) the evidence proffered or

adduced at the Sale Hearing; and it appearing that granting the relief requested in the Sale

Motion, approval of the Sale, and the entry of this Sale Order are necessary and in the best

interests of the Debtor, its estate, creditors, and other parties in interest; and it appearing

that the Notice of Sale has been given as set forth in the Sale Motion and that no other or

further notice need be given regarding the entry of this Sale Order; and upon the record of

the Sale Hearing and this chapter 11 case; and after due deliberation thereon; and good

cause appearing therefore;

    I.       FINDINGS OF FACT:

         IT IS HEREBY FOUND, DETERMINED AND CONCLUDED FOLLOWS:2




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  To the extent any of the following findings of fact constitute conclusions of law, they are adopted as such.
FED. R. BANKR. P. 7052.


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        1.     The findings and conclusions set forth herein constitute the Court’s findings

of fact and conclusions of law under Bankruptcy Rule 7052, made applicable to this

proceeding by Bankruptcy Rule 9014.

        2.     This Court has jurisdiction over the Sale Motion and the transactions

contemplated by the Sale Motion under 28 U.S.C. §§ 157 and 1334. This matter is a core

proceeding under 28 U.S.C. § 157(b)(2)(N). Venue of this case and the Sale Motion is

proper under 28 U.S.C. §§ 1408 and 1409.

        3.     The bases for the relief sought in the Sale Motion are sections 105 and 363

of the Bankruptcy Code, Bankruptcy Rules 2002, 6004, and 9014, Local Rule 6004-1, and

the Amended Guidelines for the Conduct of Asset Sales, Approved by Administrative

Order Number 383 in the United States Bankruptcy Court for the Southern District of New

York.

        4.     This Order constitutes a final and appealable order within the meaning of

28 U.S.C. § 158(a). Notwithstanding Bankruptcy Rule 6004(h) and to any extent necessary

under Bankruptcy Rule 9014 and Rule 54(b) of the Federal Rules of Civil Procedure, as

made applicable by Bankruptcy Rule 7054, the Court expressly finds that there is no just

reason for delay in the implementation of this Sale Order and waives any stay and expressly

directs entry of judgment as set forth herein.

        5.     As evidenced by the pleadings previously filed with this Court, and based

on the representations of counsel at the Sale Hearing, (i) proper, timely, adequate, and

sufficient notice of the Sale has been provided in accordance with sections 102(l), and 363

of the Bankruptcy Code, Bankruptcy Rules 2002, 6004, 6006, 9006, 9007, 9008 and 9014,



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the Local Rules of this Court, the procedural due process requirements of the United States

Constitution and in compliance with the Order Approving Bid Procedures [Docket No. 39]

(the “Bidding Procedures Order”) (ii) such notice was reasonable, sufficient, and

appropriate under the circumstances; and (iii) no other or further notice of the Sale shall be

required.

       6.      A reasonable opportunity to object or be heard with respect to the Sale

Motion and the relief requested in the Sale Motion has been afforded to all interested

persons and entities and notice of the relief requested in the Sale Motion has been afforded

to all interested persons and entities, including without limitation, (i) all creditors of the

Debtor; (ii) the SubChapter V Trustee; (iii) the Office of the United States Trustee; and

(iv) all entities that have requested notice in accordance with Bankruptcy Rule 2002.

       7.      Each of the Debtor and Purchaser (i) have requisite entity power and

authority to execute the Agreement and all other documents contemplated by the Sale

Motion; (ii) have all of the requisite entity power and authority necessary to consummate

the transactions contemplated by the Sale Motion and the Agreement; (iii) have taken all

corporate action necessary to authorize and approve the Sale and the consummation by the

Debtor and Purchaser, respectively, of the transactions contemplated thereby; and (iv)

require no consents or approvals, other than those expressly provided for in the Agreement,

to consummate such transactions. The Debtor is the sole and lawful owner of the Assets

to be sold pursuant to the Agreement.

       8.      Purchaser is a third-party purchaser unrelated to the Debtor.

       9.      The Assets are property of the Debtor’s estate.



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       10.     The Debtor has demonstrated sound business justifications, under section

363(b) of the Bankruptcy Code, with respect to the Sale on the timeline set forth therein,

including among other things (a) to maximize the value of the Assets; and (b) the Sale does

not constitute a de facto or sub rosa plan of reorganization or liquidation or an element of

such a plan for the Debtor as it does not and does not propose to (i) impair or restructure

existing debt of, or equity interests in, the Debtor; (ii) impair or circumvent voting rights

with respect to any future plan proposed by the Debtor; (iii) circumvent chapter 11 plan

safeguards, such as those set forth in sections 1125 and 1129 of the Bankruptcy Code; or

(iv) classify claims or equity interests, compromise controversies or extend debt maturities.

       11.     Purchaser is a purchaser in good faith, as that term is used in the Bankruptcy

Code and court decisions thereunder and is entitled to the protections of section 363(m) of

the Bankruptcy Code. The terms and conditions of the Sale as set forth in the Agreement

were negotiated, proposed, and agreed to by the Debtor and Purchaser as parties thereto

without collusion, in good faith, and from arm’s-length bargaining positions. The Debtor

has followed in good faith the procedures for notice and sale as set forth in the Bidding

Procedures Order. Purchaser is not an “insider” or “affiliate” of the Debtor (as each such

term is defined in the Bankruptcy Code). Neither the Debtor nor Purchaser have engaged

in any conduct that would prevent the application of section 363(m) of the Bankruptcy

Code to the Sale and the transactions contemplated by the Agreement. Specifically,

Purchaser has not acted in a collusive manner with any person, including that the

consideration provided by Purchaser for the Assets was not controlled by any agreement

among Purchaser and the other potential bidders. Purchaser is entitled to the protections



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afforded under section 363(m) of the Bankruptcy Code because Purchaser is a good faith

purchaser in that, inter alia, (a) Purchaser participated in an open auction for the Assets and

recognized that the Debtor was free to deal with any other party interested in acquiring the

Assets; (b) Purchaser complied with the provisions of the Bidding Procedures Order; (c)

Purchaser's bid was the subject of the opportunity for competitive bidding; (d) Purchaser

in no way induced or caused the chapter 11 filing by the Debtor; (e) all payments to be

made by Purchaser in connection with the Sale have been disclosed; (f) no common identity

of directors or controlling stockholders exists between Purchaser and the Debtor; and (g)

the negotiation and execution of the Agreement was at arm’s length and in good faith.

       12.     Purchaser will be deemed to have acted in good faith, pursuant to section

363(m) of the Bankruptcy Code, and entitled to the protections therein in closing the

transactions contemplated by the Agreement after the entry of this Sale Order and in

accordance with the Agreement. Furthermore, the reversal or modification on appeal of

the authorization provided herein to consummate the Sale shall not affect the validity of

the Sale, unless such authorization and consummation of such Sale are duly and properly

stayed pending such appeal.

       13.     Neither Purchaser nor the Debtor has engaged in any conduct that would

cause or permit the Agreement to be voided under section 363(n) of the Bankruptcy Code.

Purchaser has not violated section 363(n) of the Bankruptcy Code by any action or inaction.

The consideration to be paid by Purchaser was not controlled by an agreement among

potential bidders at such sale. The transactions under the Agreement may not be avoided,




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and no damages may be assessed against Purchaser or any other party under section 363(n)

of the Bankruptcy Code or any other applicable bankruptcy or non-bankruptcy law.

       14.     The consideration provided by Purchaser for the Assets (i) is fair and

reasonable; (ii) is the highest or otherwise best offer for the Assets; (iii) constitutes fair

consideration and reasonably equivalent value (as those terms are defined in each of the

Uniform Fraudulent Transfer Act, Uniform Fraudulent Conveyance Act, Uniform

Voidable Transactions Act, and section 548 of the Bankruptcy Code) under the Bankruptcy

Code and under the laws of the United States, any state, territory, possession or the District

of Columbia; and (iv) will provide a greater recovery for the Debtor’s creditors and other

interested parties than would be provided by any other practically available alternative.

       15.     The Bidding Procedures set forth in the Bidding Procedures Order were

non-collusive and substantively and procedurally fair to all parties.

       16.     The Debtor, Purchaser, and their respective professionals have complied in

good faith in all respects with the Bidding Procedures Order as demonstrated by (i) the

testimony and other evidence proffered or adduced at the Sale Hearing and (ii) the

representations of counsel made on the record at the Sale Hearing. The Debtor (a) afforded

interested potential purchasers a full, fair and reasonable opportunity to qualify as bidders

and submit their highest or otherwise best offer to purchase the Assets; and (b) provided

potential purchasers, upon request, sufficient information to enable them to make an

informed judgment on whether to bid on the Assets.

       17.     The transfer of the Assets to Purchaser pursuant to the Sale under the

Agreement will, upon the occurrence of the Closing, vest in Purchaser all rights, title, and



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interest of the Debtor in the Assets, free and clear of any and all Encumbrances (as defined

below). Purchaser shall not assume or become liable for any interests in, or relating to, the

Assets being sold by the Debtor.

       18.     The Debtor has articulated sound business reasons for performing the

Agreement, as set forth in the Sale Motion, outside of a plan of reorganization, and it is a

reasonable exercise of the Debtor’s business judgment to execute, deliver, and consummate

the Agreement.

       19.     The Assets shall be sold free and clear of all of the following (collectively,

the “Encumbrances”) mortgages, security interests, conditional sale or other retention

agreement, pledges, liens (as that term is defined in section 101(37) of the Bankruptcy

Code), claims (as that term is defined in section 101(5) of the Bankruptcy Code),

obligations, guaranties, debts, rights, contractual commitments, interests, judgments,

demands, easements, charges, encumbrances, defects, options, rights of first refusal, other

encumbrances, liens, and restrictions of any kind or nature whether imposed by agreement,

understanding, law, equity, or otherwise, including, without limitation, (i) encumbrances

that purport to give any party a right or option to effect any forfeiture, modification or

termination of the Debtor’s rights or interests in the Assets or the Purchaser’s rights or

interests in the Assets or (ii) in respect of taxes, in each case accruing, arising or relating

to a period prior to the Closing.

       20.     The transfer of the Assets to Purchaser pursuant to the Sale will be a legal,

valid, and effective transfer of the Assets, shall vest Purchaser with all right, title, and

interest of the Debtor to the Assets free and clear of any Encumbrances. Purchaser shall



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not assume or become liable for any and all Encumbrances relating to the Assets being sold

by the Debtor.

       21.       All persons having Encumbrances of any kind or nature whatsoever against

or in the Debtor or the Assets shall be forever barred, estopped, and permanently enjoined

from pursuing or asserting such Encumbrances against Purchaser, or its assets, property,

successors, or assigns, or the Assets.

       22.       The Debtor may sell the Assets free and clear of all Encumbrances of any

kind or nature whatsoever because, in each case, one or more of the standards set forth in

section 363(f) of the Bankruptcy Code has been satisfied. Those holders of Encumbrances

and parties, who did not object, are deemed to have consented pursuant to section 363(f)(2)

of the Bankruptcy Code. No party has objected to the Sale Motion.

       23.       The terms and conditions of the Sale and the Agreement, including the total

consideration to be realized by the Debtor pursuant to the Agreement, are fair and

reasonable, and the transactions contemplated by the Agreement, are in the best interests

of the Debtor, its creditors, and its estate. A valid business purpose exists for the approval

of the Sale and other transactions contemplated by the Sale Motion.

       24.       The requirements of sections 363(b) and 363(f) of the Bankruptcy Code and

any other applicable law relating to the sale of the Assets have been satisfied.

       25.       A reasonable opportunity has been afforded to all interested parties to make

a higher or better offer to purchase the Assets.




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        26.     Approval at this time of the Sale, the Agreement, and all the transactions

contemplated thereby and hereby is in the best interests of the Debtor, its creditors, its

estate, and other parties in interest.

        27.     Purchaser has the financial capability to fulfill the obligations contemplated

under the Agreement.

        28.     The transactions contemplated under the Agreement do not amount to a

consolidation, merger or de facto merger of Purchaser and the Debtor, there is no

substantial continuity between Purchaser and the Debtor, there is no continuity of

enterprise between the Debtor and Purchaser, Purchaser is not a mere continuation of the

Debtor or its chapter 11 estate, and Purchaser does not constitute a successor to the Debtor

or its chapter 11 estate.

        29.     The transfer of the Assets to Purchaser does not and will not subject

Purchaser or any of its affiliates or subsidiaries to any liability by reason of such transfer

under (i) the laws of the United States, any state, territory, or possession thereof, or the

District of Columbia, based in whole or part on, directly or indirectly, including without

limitation, any theory of antitrust, environmental, products liability, successor, transferee

or vicarious liability, labor law, de facto merger or substantial continuity or (ii) any

employment contract, understanding or agreement, including without limitation collective

bargaining agreements, employee pension plans or employee welfare or benefit plans

(collectively, “Debtor Liabilities” and singularly, “Debtor Liability”). Purchaser has not

assumed and shall not be liable for any Debtor Liability or other obligation of the Debtor,




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and such liabilities and obligations are expressly excluded from the sale of the Assets and

shall remain liabilities and obligations of the Debtor and its estate.

           30.     Subject to the terms and conditions of the Agreement, time is of the essence

in consummating the Sale. The findings and conclusions set forth herein constitute the

Court’s findings of fact and conclusions of law under Bankruptcy Rule 7052, made

applicable to this proceeding by Bankruptcy Rule 9014.

II.        CONCLUSIONS OF LAW

           NOW THEREFORE, BASED UPON THE FOREGOING FINDINGS OF FACT,

IT    IS        HEREBY    ORDERED,        ADJUDGED,        AND     DECREED,        EFFECTIVE

IMMEDIATELY, AS FOLLOWS:

           A.      The relief requested in the Sale Motion is granted as provided in this Sale

Order. Any prior written or oral objections to the Sale Motion or entry of this Sale Order

are overruled in their entirety.

           B.      Notice of the Sale Hearing was fair and adequate under the circumstances

and complied in all respects with section 102(1) of the Bankruptcy Code and Bankruptcy

Rules 2002 and 6004.

           C.      The sale of the Assets and the consideration provided by Purchaser under

the Agreement therefor is fair and reasonable and shall be deemed for all purposes to

constitute a transfer for reasonably equivalent value and fair consideration under the

Bankruptcy Code and any other applicable law.

           D.      Purchaser is hereby granted and is entitled to all of the protections provided

to a good faith buyer under section 363(m) of the Bankruptcy Code.




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       E.        The Agreement substantially in the form attached hereto as Exhibit A and

all of the terms and conditions thereof, are hereby approved. Under section 363(b) of the

Bankruptcy Code, the Debtor is authorized to consummate the Sale pursuant to and in

accordance with the terms and conditions of the Agreement, without any further corporate

authorization.

       F.        The Debtor is authorized and directed to fully assume, perform under,

consummate, and implement the terms of the Agreement together with any and all

additional instruments and documents that may be reasonably necessary or desirable to

implement and effectuate the terms of the Agreement, this Sale Order and sale of the Assets

contemplated thereby and hereby including, without limitation, deeds, assignments, stock

powers and other instruments of transfer, and to take all further actions as may reasonably

be requested by Purchaser for the purpose of assigning, transferring, granting, conveying

and conferring to Purchaser, or reducing to possession, any or all of the Assets, as may be

necessary or appropriate to the performance of the Debtor’s obligations as contemplated

by the Agreement, without any further corporate action or orders of this Court. Purchaser

shall have no obligation to proceed with the Closing of the Agreement until all conditions

precedent to its obligations to do so have been met, satisfied or waived. Purchaser may, in

its sole discretion, consummate the transactions under the Agreement at any time after the

entry of this Sale Order (including immediately thereafter) by waiving all closing

conditions set forth in the Agreement that have not been satisfied and by proceeding to

close such transactions, without any notice to the Court, any pre-petition or post-petition

creditor of the Debtor or any other party in interest.



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       G.      The Debtor and each other person or entity having duties or responsibilities

under the Agreement, any agreements related thereto, or this Sale Order and their

respective directors, officers, employees, members, agents, representatives, and attorneys

are authorized and empowered, subject to the terms and conditions contained in the

Agreement, to (a) carry out all of the provisions of the Agreement and any related

agreements; (b) issue, execute, deliver, file, and record, as appropriate, the documents

evidencing and consummating the Agreement, and any related agreements; (c) take any

and all actions contemplated by the Agreement, any related agreements or this Sale Order;

(d) issue, execute, deliver, file and record, as appropriate, such other contracts, instruments,

releases, indentures, mortgages, deeds, bills of sale, assignments, leases, or other

agreements or documents; and (e) to perform such other acts and execute and deliver such

other documents, as are consistent with and necessary or appropriate to implement,

effectuate, and consummate the Agreement, any related agreements and this Sale Order

and the transactions contemplated thereby and hereby, all without further application to, or

order of, the Court.

       H.      The Debtor shall be, and hereby is, authorized to certify or attest to any of

the foregoing actions (but no such certification or attestation shall be required to make any

such action valid, binding, and enforceable).        The Debtor is further authorized and

empowered to cause to be filed with the secretary of state of any state or other applicable

officials of any applicable governmental units any and all certificates, agreements or

amendments necessary or appropriate to effectuate the transactions contemplated by the

Agreement, any related agreements and this Sale Order, including amended and restated



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certificates or articles of incorporation and bylaws or certificates or articles of amendment,

and all such other actions, filings, or recordings as may be required under applicable law

as the Debtor may determine are necessary or appropriate. The execution of any such

document or the taking of any such action shall be, and hereby is, deemed conclusive

evidence of the authority of such person to so act. Without limiting the generality of the

foregoing, this Sale Order shall constitute all approvals and consents, if any, required by

the corporation laws of the State of Delaware and all other applicable business corporation,

trust and other laws of the applicable governmental units with respect to the

implementation and consummation of the Agreement, any related agreements and this Sale

Order, and the transactions contemplated thereby and hereby.

       I.      Effective as of the Closing, (a) the Sale of the Assets by the Debtor to

Purchaser shall constitute a legal, valid, and effective transfer of the Assets notwithstanding

any requirement for approval or consent by any person and shall vest Purchaser with all

right, title, and interest of the Debtor in and to the Assets, free and clear of all

Encumbrances of any kind, under section 363(f) of the Bankruptcy Code.

       J.      The Sale of the Assets is not subject to avoidance, and no damages may be

assessed against Purchaser or any other party as a result of the Sale, under section 363(n)

of the Bankruptcy Code.

       K.      Except to the extent specifically provided in the Agreement or this Sale

Order, upon the Closing, the Debtor shall be, and hereby is, authorized, empowered, and

directed under sections 105 and 363(b) of the Bankruptcy Code to sell the Assets to

Purchaser. The Sale of Assets shall vest Purchaser with all right, title, and interest of the



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Debtor to the Assets free and clear of any and all Encumbrances and other liabilities and

claims, whether secured or unsecured, choate or inchoate, filed or unfiled, scheduled or

unscheduled, noticed or unnoticed, recorded or unrecorded, contingent or noncontingent,

liquidated or unliquidated, matured or unmatured, disputed or undisputed, or known or

unknown, whether arising prior to or subsequent to the Petition Date, whether imposed by

agreement, understanding, law, equity or otherwise. Following the Closing, no holder of

any Encumbrance in the Assets shall interfere with Purchaser’s use and enjoyment of the

Assets based on or related to such Encumbrance, or any actions that the Debtor may take

in the chapter 11 case, or any trustee in a subsequent chapter 7 case, and no person shall

take any action to prevent, interfere with or otherwise enjoin consummation of the

transactions contemplated in or by the Agreement or this Sale Order.

       L.      The provisions of this Sale Order authorizing the sale of the Assets free and

clear of Encumbrances shall be self-executing, and neither the Debtor nor Purchaser shall

be required to execute or file releases, termination statements, assignments, consents or

other instruments in order to effectuate, consummate, and implement the provisions of this

Sale Order. However, the Debtor and Purchaser, and each of their respective officers,

employees and agents, are hereby authorized and empowered to take all actions and

execute and deliver any and all documents and instruments that either the Debtor or

Purchaser deem necessary or appropriate to implement and effectuate the terms of the

Agreement and this Sale Order.

       M.      On or before the Closing, all parties holding Encumbrances of any kind are

authorized and directed to execute such documents and take all other actions as may be



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necessary to release any Encumbrances of any kind against the Assets and, as such

Encumbrances may have been recorded or may otherwise exist. If any person or entity that

has filed financing statements or other documents or agreements evidencing any

Encumbrances in or against the Assets shall not have delivered to the Debtor prior to the

Closing after request therefor, in proper form for filing and executed by the appropriate

parties, termination statements, instruments of satisfaction, or releases of all such

Encumbrances that the person or entity has with respect to the Assets, the Debtor is hereby

authorized to execute and file such statements, instruments, releases, and other documents

on behalf of the person or entity with respect to such Assets prior to the Closing, and

Purchaser is authorized to execute and file such documents after Closing.

       N.      All of the Debtor’s interests in the Assets to be acquired by Purchaser under

the Agreement shall be as of the Closing and upon the occurrence of the Closing transferred

to and vested in Purchaser pursuant to the Agreement. Upon the occurrence of the Closing,

this Sale Order shall be considered and constitute for any and all purposes a full and

complete general assignment, conveyance, and transfer of the Assets acquired by Purchaser

under the Agreement and/or a bill of sale or assignment transferring good and marketable,

indefeasible title and interest in the Assets to Purchaser.

       O.      Purchaser is not assuming nor shall it or any affiliate or subsidiary of

Purchaser be in any way liable or responsible as a successor or otherwise for any Debtor

Liabilities, any other liabilities, debts, or obligations of the Debtor in any way whatsoever

relating to or arising from the Debtor’s ownership or use of the Assets prior to the

consummation of the transactions contemplated by the Agreement, or any liabilities



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calculable by reference to the Debtor or its operations or the Assets or relating to continuing

or other conditions existing on or prior to consummation of the transactions contemplated

by the Agreement, which liabilities, debts, and obligations are hereby extinguished insofar

as they may give rise to liability, successor or otherwise, against Purchaser or any affiliate

or subsidiary of Purchaser.

       P.      Purchaser shall not be required to seek or obtain relief from the automatic

stay under section 362 of the Bankruptcy Code to enforce any of its remedies under the

Agreement or any other Sale-related document. The automatic stay imposed by section

362 of the Bankruptcy Code is modified to the extent necessary to implement the preceding

sentence and the other provisions of this Sale Order.

       Q.      Notwithstanding anything herein to the contrary, nothing herein shall in any

way affect or diminish any rights of the Debtor or any successor thereto (including any

chapter 11 or chapter 7 trustee) with respect to obligations of Purchaser arising under the

Agreement or this Sale Order. This Sale Order shall be binding on the Debtor and the

Debtor's estate (including, in each case, following any conversion or dismissal of this case),

any successor chapter 7 estate, any confirmed plan of reorganization or liquidation, and

any chapter 7 or chapter 11 trustees appointed in this case.

       R.      This Court retains and shall have exclusive jurisdiction to endorse and

implement the terms and provisions of the Agreement, any amendments thereto, any

waivers and consents thereunder, and each of the agreements executed in connection

therewith in all respects, including, but not limited to, retaining jurisdiction to (a) compel

delivery of the Assets to Purchaser; (b) resolve any disputes arising under or related to the



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Agreement; (c) enforce the injunctions and releases contained within this Sale Order and

(d) interpret, implement, and enforce the provisions of the Agreement and this Sale Order.

        S.     The terms and provisions of the Agreement and this Sale Order shall be

binding in all respects upon, and shall inure to the benefit of, the Debtor, its estate, and all

parties in interest in this case (including the Debtor’s creditors and equity holders)

(collectively, the “Debtor Parties”), Purchaser, and each of the Debtor Parties’ and

Purchaser’s respective affiliates, members, officers, directors, successors and permitted

assigns, and any affected third parties, notwithstanding any subsequent appointment of any

trustee(s) under any chapter of the Bankruptcy Code or any trustee(s), receiver(s) or similar

person(s) under applicable non-bankruptcy law, as to which trustee(s), receiver(s) and

person(s) such terms and provisions likewise shall be binding.

        T.     The failure to specifically include any particular provisions of the

Agreement in this Sale Order shall not diminish or impair the effectiveness of such

provisions, and the Agreement is, by this Sale Order, authorized and approved in its

entirety.

        U.     Non-material changes to the Agreement and any related agreements,

documents, or other instruments may be made, including modifications, amendments, or

supplements agreed upon by the Debtor and Purchaser in accordance with the terms

thereof, without further order of this Court.

        V.     Purchaser and the Debtor are authorized to consummate the Sale subject to

the terms and conditions of the Agreement.




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       W.      Notwithstanding the possible applicability of Bankruptcy Rules 6004(h),

7062, 9014 or any other Bankruptcy Rule, the terms and conditions of this Sale Order shall

be effective immediately upon its entry, and the Debtor and Purchaser are authorized to

consummate the transactions contemplated in the Agreement immediately upon entry of

this Sale Order.



       SO ORDERED.

       Dated: January 13, 2021


                                            /S/ Shelley C. Chapman
                                            United States Bankruptcy Judge




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